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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   SECURITIES AND EXCHANGE                                 No. C 11-00938 WHA
                                                                         11   COMMISSION,
United States District Court




                                                                                             Plaintiff,                               ORDER GRANTING MOTION FOR
                               For the Northern District of California




                                                                         12                                                           APPROVAL OF (1) REDEMPTION
                                                                         13     v.                                                    OF ASSETS; (2) FINAL
                                                                                                                                      DISTRIBUTION; (3) PAYMENT OF
                                                                         14   LAWRENCE R. GOLDFARB and                                ACCRUED FEES TO RECEIVER;
                                                                              BAYSTAR CAPITAL MANAGEMENT,                             (4) DISCHARGE OF RECEIVER;
                                                                         15   LLC,                                                    AND (5) VACATING HEARING

                                                                         16                  Defendants.
                                                                                                                          /
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                                                                         18          The Court previously approved two interim distributions to investors totaling $6.2

                                                                         19   million (Dkt. Nos. 169 and 179). Now, receiver John W. Cotton moves for approval of (1) the

                                                                         20   redemption of remaining assets; (2) a final distribution to investors; (3) payment of his accrued

                                                                         21   fees; and (4) his discharge from further duties.

                                                                         22          All of the known assets of the defendants have been identified and liquidated to cash

                                                                         23   (Dkt. No. 180-1 at 5). The receiver reports that valuation of the remaining partnership interests

                                                                         24   in the Island Fund and Yacht Funds proved difficult since neither fund is publicly traded. The

                                                                         25   receiver sought the valuation assistance of the two largest Baystar investors, who collectively

                                                                         26   are entitled to 83 percent of the distributable funds in the estate. The two investors approved of

                                                                         27   the redemption amounts that the receiver negotiated: $150,000 and $235,638 respectively (Dkt.

                                                                         28   No. 180-1 at 2). The receiver seeks the Court’s approval of these redemption amounts, which
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                                                                          1   are now held in the estate bank account. Counting the redemption amounts, the receiver now
                                                                          2   holds $479,540.
                                                                          3          To date, no objection has been received from any creditor. Through his attorney,
                                                                          4   defendant Lawrence Goldfarb communicated that he does not oppose the motion (id. at 8). The
                                                                          5   Securities and Exchange Commission also does not oppose the present motion, having filed a
                                                                          6   statement of non-opposition.
                                                                          7          Accordingly, the motion is GRANTED. The receiver is authorized as follows:
                                                                          8          1.      The offered redemption amounts of $150,000 and $235,648 for the partnership
                                                                          9                  interests in the Island Fund and Yacht Funds, respectively, is approved;
                                                                         10          2.      The receiver shall make a final pro rata distribution of all remaining cash to the
                                                                         11                  Island Fund investors;
United States District Court
                               For the Northern District of California




                                                                         12          3.      The receiver shall file final tax returns, and a final accounting of the estate
                                                                         13                  income and expenses as required by the plaintiff SEC;
                                                                         14          4.      The receiver shall pay the amount of $18,247.50 to his firm Gartenberg, Gelfand
                                                                         15                  & Hayton for his legal services and costs incurred;
                                                                         16          5.      The receiver shall be permitted to hold back $15,000 in funds to cover as yet
                                                                         17                  unbilled time in preparing and processing the instant motion, and services
                                                                         18                  anticipated from post receivership work;
                                                                         19          6.      The receiver is permitted to destroy duplicate, hard copy documents received
                                                                         20                  from defense counsel, and all other hard copy documents unrelated to the claims
                                                                         21                  of investors and the operation of the estate;
                                                                         22          7.      Upon completion of the tasks set forth herein, the receivership is deemed
                                                                         23                  terminated.
                                                                         24          In addition, the Clerk of this Court shall TRANSFER the funds it currently holds on
                                                                         25   account of the disgorgement order against defendant Goldfarb, approximately $80,169, to the
                                                                         26   receiver for pro rata distribution to defrauded investors.
                                                                         27          The receiver also asks for a more expansive release than that provided in the order
                                                                         28   appointing him as receiver. The appointment order provides: “In no event shall the Receiver or


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                                                                          1   Retained Personnel be liable to anyone for their good faith compliance with their duties and
                                                                          2   responsibilities as Receiver or Retained Personnel” (Dkt. No. 53 at 12). This order concludes
                                                                          3   that there is no need to expand the scope of the release beyond what is provided in the prior
                                                                          4   order.
                                                                          5            The hearing set for September 8, 2016, is hereby VACATED. The Court will retain
                                                                          6   continuing jurisdiction over this matter.
                                                                          7
                                                                          8            IT IS SO ORDERED.
                                                                          9
                                                                         10   Dated: September 6, 2016.
                                                                                                                                       WILLIAM ALSUP
                                                                         11                                                            UNITED STATES DISTRICT JUDGE
United States District Court
                               For the Northern District of California




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